          Case 2:20-mj-00012-KLD Document 1 Filed 07/08/20 Page 1 of 2




 TARA J. ELLIOTT
 Assistant U.S. Attorney
 U.S. Attorney’s Office
 P.O. Box 8329
 Missoula, MT 59807
 105 E. Pine, 2nd Floor
 Missoula, MT 59802
 Phone:(406)542-8851
 FAX:(406)542-1476
 tara.elliott@usdoj.gov

 ATTORNEY FOR PLAINTIFF
 UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                                 BUTTE DIVISION


  UNITED STATES OF AMERICA,                   MJ 20-
                                                        h -BU-KLD
               Plaintiff,                                TO SEAL


        vs.




  CRISTYAN JOSE GONZALEZ
  CARRILLO,

               Defendant.




      The United States, by and through Tara J. Elliott, Assistant U.S. Attorney,
requests this Honorable Court to seal this case and all pleadings in it, including the
Complaint, Ariest Warrant, and Alfidavit in Support of Criminal Complaint, as the
revealing of information contained therein at this time would jeopardize the

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       Case 2:20-mj-00012-KLD Document 1 Filed 07/08/20 Page 2 of 2




investigation and the privacy of the target of this investigation.
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      The United States further requests this matter be unsealed for the limited

purposes of providing all documents to defense counsel in discovery, upon initial

appearance and service/receipt of defense counsel’s discoveiy request, pursuant to
Rule 16 of the Federal Rules of Criminal Procedure.

      DATED this 8th day of July, 2020.

                                        KURT G. ALME
                                        United States Attome’




                                       'XP^ J^lMTT
                                        A^istam U^Attorney
                                        Attomev/ror Plaintiff




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